Case 1:07-cv-11693-GAO Document 246-1 Filed 07/09/10 Pagelof2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

PEDRO LOPEZ, et al., se
Plaintiffs °

Case No. 07-CA-11693-GAO

CITY OF LAWRENCE, et al.
Defendants

<
Te et Ne et eh et ne Se eee tae

AFFIDAVIT OF JOSEPH L. SULMAN

1. lanv one of the attorneys of the firm Lichten & Liss-Riordan, P-C;,
representing the Plaintiffs in the present matter

2. . 1am an attorney in good standing admitted to practice in
Massachusetts, the District Court of Massachusetts, and the First Circuit Court of
Appeals.

3. On June 8, 2010, | attended a City Council Hearing, Docket No.
0610, titled “Diversifying The Police Force.”

A. At this hearing, Boston Police Commissioner Edward Davis and
Superintendent-in-Chief Linsky provided statements and answered questions
regarding the police sergeant promotional examination at issue in this case.

5, Commissioner Davis criticized the police sergeant promotional
examination at this hearing as not testing many important knowledge, skills,
and/or abilities required for a police sergeant.

6. Davis also stated that he was a “big advocate of assessment

centers,” and cited and praised the assessment center that the Boston Police

Case 1:07-cv-11693-GAO Document 246-1 Filed 07/09/10 Page2of2

Department utilized for its 2007 detective examination. He said the assessment
center resulted in a highly diverse pool of appointments to detective.

7. | also received a video recording of the City Council hearing in
question. | viewed the recording and transcribed certain of Commissioner Davis’
statements. The statements ascribed to Commissioner Davis provided in the
accompanying Plaintiffs’ Opposition To The City Of Boston's Motion For A
Protective Order are an accurate transcription of these statements to the best of

my abilities.

Dated: July 9, 2010

Nee

Joseph Sulrdan, BBO #663635
Lichten & Liss-Riordan, P.C.

100 Cambridge Street, 20" Floor
Boston, MA 02114
617-994-5800

CERTIFICATE OF SERVICE

| hereby certify that a copy of the foregoing document was served upon
the Court and counsel of record for defendants Court's ECF filing system,
on July 9, 2070.

